                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


    BILL LIETZKE,
                               Plaintiff,
                   v.
    GREYHOUND LINES, INC.,                       Case No. 3:19-cv-00106-TMB

                              Defendant.


                                ORDER OF DISMISSAL

         Self-represented litigant, Bill Lietzke filed a complaint on April 12, 2019,

along with a civil cover sheet and a Motion to Proceed In Forma Pauperis. 1 The

complaint and cover sheet names Greyhound Lines, Inc. as the defendant. 2

Additionally, the cover sheet indicates that the complaint presents a federal

question under 42 U.S.C. § 1983 and describes the cause as “false imprisonment,

harassment, civil rights violations.”

         The complaint alleges that on April 20, 2018, Mr. Lietzke was traveling via

Greyhound bus. 3         He alleges that upon his arrival in Birmingham, Alabama

Greyhound employees “purposely deprived the Plaintiff of freedom of movement

by use of physical barrier and force and other total and complete unreasonable

duress” “which harmed the Plaintiff” and resulted in him being jailed. Mr. Lietzke



1   Dockets 1-3.
2   Dockets 1 & 2.
3   Docket 1 at 1-2.



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alleges these actions violated his First and Fourth Amendment rights under the

U.S. Constitution. 4

         For relief, Mr. Lietzke requests “Punitive Damages, Actual Damages,

Compensatory Damages, and Irreparable Damages of $2,000,000,000.00.” 5

                               SCREENING REQUIREMENT

         Federal law requires a court to conduct an initial screening of a civil

complaint filed by a self-represented litigant seeking IFP status. 6 In this screening,

a court shall dismiss the case at any time if the court determines that the action:

                (i)     is frivolous or malicious;

                (ii)    fails to state a claim on which relief may be granted; or

                (iii)   seeks monetary relief against a defendant who is immune
                        from such relief. 7

         To determine whether a complaint states a valid claim for relief, courts

consider whether the complaint contains sufficient factual matter that, if accepted

as true, “state[s] a claim to relief that is plausible on its face.” 8 In conducting its


4   See Docket 1.
5   Docket 1 at 3.
6  See, e.g., Lopez v. Smith, 203 F.3d 1122, 1126 n.7 (9th Cir. 2000) (clarifying that the
relevant law, 28 U.S.C. § 1915(e) “applies to all [IFP] complaints,” and not just those
filed by prisoners).
7   28 U.S.C. § 1915(e)(2)(B).
8 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550
U.S. 544, 570 (2007)). In making this determination, a court may consider “materials
that are submitted with and attached to the Complaint.” United States v. Corinthian

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review, a court must liberally construe a self-represented plaintiff’s pleading and

give the plaintiff the benefit of the doubt. 9 Before a court may dismiss any portion

of a complaint for failure to state a claim upon which relief may be granted, the

court must provide the plaintiff with a statement of the deficiencies in the complaint

and an opportunity to amend or otherwise address the problems, unless to do so

would be futile. 10

         Furthermore, the United States Supreme Court has established that “the

federal courts are under an independent obligation to examine their own

jurisdiction[.]” 11 In a federal court proceeding, a jurisdictional defect may be raised

at any time. 12




Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (citing Lee v. L.A., 250 F.3d 668, 688 (9th
Cir. 2001)).
9See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citing Bretz v. Kelman, 773
F.2d 1026, 1027 n.1 (9th Cir. 1985) (en banc)).
10See Gordon v. City of Oakland, 627 F.3d 1092, 1094 (9th Cir. 2010) (citing Albrecht v.
Lund, 845 F.2d 193, 195 (9th Cir. 1988)).
11   United States v. Hays, 515 U.S. 737, 742 (1995).
12   Washington Environmental Council v. Bellon, 732 F.3d 1131, 1139 (9th Cir. 2013).

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                                     DISCUSSION

       Mr. Lietzke’s complaint alleges that he was assaulted by Greyhound Lines

employees and then wrongly jailed in Birmingham, Alabama, thusly violating his

civil rights. The Court takes judicial notice that this is the same factual claim Mr.

Lietzke filed at Case No. 3:19-cv-104-TMB. 13 Mr. Lietzke fails to plausibly allege

a claim under 42 U.S.C. § 1983. Further, the complaint fails to establish subject

matter or personal jurisdiction over the defendants and is filed in the incorrect

venue. Additionally, Mr. Lietzke has filed this claim in several district courts across

the country making this lawsuit frivolous. In this case, amendment would be futile;

therefore, the Court will not grant leave to amend.

                                    42 U.S.C. § 1983

       42 U.S.C. § 1983 is a federal statute that “is not itself a source of substantive

rights,” but provides “a method for vindicating rights [found] elsewhere.” 14 To state

a claim for relief under 42 U.S.C. § 1983, a plaintiff must “plead that (1) defendants

acting under color of state law (2) deprived plaintiff of rights secured by the federal




13
  Judicial notice is the “court’s acceptance, for purposes of convenience and without
requiring a party’s proof, of a well-known and indisputable fact; the court’s power to
accept such a fact.” Black’s Law Dictionary (10th ed. 2014); see also Headwaters Inc. v.
U.S. Forest Service, 399 F.3d 1047, 1051 n.3 (9th Cir. 2005) (“Materials from a
proceeding in another tribunal are appropriate for judicial notice.”) (internal quotation
marks and citation omitted); see also Fed. R. Evid. 201.
14Graham v. Connor, 490 U.S. 386, 393-94 (1989) (quoting Baker v. McCollan, 443
U.S. 137, 144 n.3 (1979)).


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Constitution or federal statutes.” 15 To act under color of state law, a complaint

must allege that the defendants acted with state authority as state actors. 16 To be

deprived of a right, the defendant’s action needs to either violate rights guaranteed

by the Constitution or an enforceable right created by federal law. 17 Critically, a

plaintiff must establish a causal link between the state action and the alleged

violation of his rights. 18 These essential elements must be pleaded in a § 1983

claim.

         42 U.S.C. § 1983 also requires that a defendant must be “acting under the

color of state law”. 19 This essential element of the statute limits who may be a

proper defendant under § 1983 litigation. For instance, private citizens, state

governmental agencies, and states are not proper defendants for a § 1983

action. 20    The question of whether a person who has allegedly caused a

constitutional injury was acting under the color of state law is a factual



15Gibson v. United States, 781 F.2d 1334, 1338 (9th Cir. 1986).
16West v. Atkins, 487 U.S. 42, 49 (1988) (quoting United States v. Classic, 313 U.S.
299, 326 (1941)).
17Buckley v. City of Redding, 66 F. 3d 188, 190 (9th Cir. 1995); Blessing v. Freestone,
520 U.S. 329, 340-41 (1997).
18Preschooler II v. Clark Cty. Sch. Bd. Of Trs., 479 F.3d 1175, 1183 (9th Cir. 2007)
(quoting Johnson v. Duffy, 588 F.2d 740, 743 (9th Cir. 1978)).
19   West, 487 U.S. at 49.
20See 42 U.S.C. § 1983; Flint v. Dennison,488 F.3d 816, 824-25 (9th Cir. 2007); Hale v.
Arizona, 993 F.2d 1387, 1398 (9th Cir. 1993) (en banc).


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determination. 21 A defendant has acted under color of state law where he or she

has “exercised power ‘possessed by the virtue of state law and made possible only

because the wrongdoer is clothed with the authority of state law.’” 22 Mr. Lietzke’s

complaint names a private party, not a state actor—Greyhound Lines, Inc. This

defendant is not and cannot be a state actor, which means an essential element

of a 42 U.S.C. § 1983 claim cannot be established.

          In order to plead a proper § 1983 claim, a plaintiff must allege plausible facts

that if proven would establish each of the required elements of: “(1) a violation of

rights protected by the Constitution or created by federal statute, (2) proximately

caused (3) by conduct of a ‘person’ (4) acting under color of state law.” 23 Mr.

Lietzke has not and cannot plausible allege these elements.                  Therefore, his

complaint must be dismissed.

                                 Subject Matter Jurisdiction

          Jurisdiction is “[a] court's power to decide a case or issue a decree.” 24 A

court’s subject matter jurisdiction is its “statutory or constitutional power to

adjudicate a case.” 25 As a federal court, this Court has limited subject matter


21 See Brunette v. Humane Soc’y of Ventura Cty., 294 F.3d 1205, 1209 (9th Cir. 2002).
22 West, 487 U.S. at 49 (quoting Classic, 313 U.S. at 326); see also Tongol v. Usery,
601 F.2d 1091, 1097 (establishing that when state officials are administering a federal
funded program, the state officials are still acting under the color of state law).
23 Gibson v. United States, 781 F.2d 1334, 1338 (9th Cir. 1986); see also Pistor v.

Garcia, 791 F.3d 1104, 1114 (9th Cir. 2015).
24 Black’s Law Dictionary (9th ed. 2009) (definition of “jurisdiction”).


25
     Steel Co. v. Citizens for Better Environment, 523 U.S. 83, 89 (1998).


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jurisdiction. It possesses “only that power authorized by the Constitution and

statute.” 26 This means that the Court has the authority to hear only specified types

of cases. 27 “In civil cases, subject matter jurisdiction is generally conferred upon

federal district courts either through diversity jurisdiction, 28 U.S.C. § 1332, or

federal question jurisdiction, 28 U.S.C. § 1331.” 28

         Federal question jurisdiction provides a federal court the authority to

consider cases brought under the United States Constitution or federal statutes. 29

As established above, Mr. Lietzke cannot establish a viable claim under 42 U.S.C.

§ 1983. Because the complaint does not plausibly allege a violation of the U.S.

Constitution or a federal statute that is redressable by a private citizen in federal

court, this Court does not have federal question jurisdiction over this case.

         Alternatively, a federal court may exercise jurisdiction when there is diversity

of citizenship between the parties. Diversity jurisdiction requires that the plaintiff

have “citizenship which is diverse from that of every defendant.” 30 This means that


26Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations
omitted); see also, e.g. A-Z Intern. V. Phillips, 323 F.3d 1141, 1145 (9th Cir. 2003).
27See, e.g., United States v. Marks, 530 F.3d 779, 810 (9th Cir. 2008), citing
DaimlerChrysler v. Cuno, 547 U.S. 332, 342 (2006); United States v. Sumner, 226 F.3d
1005, 1010 (9th Cir. 2000).
28   Peralta v. Hispanic Bus., Inc., 419 F.3d 1064, 1068 (9th Cir. 2005).
29   28 U.S.C. § 1331.
30See Cook v. AVI Casino Enterprises, Inc., 548 F.3d 718, 722 (9th Cir. 2008) (quoting
Caterpillar, Inc. v. Lewis, 519 U.S. 61, 68 (1996) (diversity jurisdiction requires

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this Court could have jurisdiction over a case (Including one involving only state

law issues) where the plaintiff demonstrates that he is a citizen of a different state

than the state of citizenship of each of the defendants. 31 However, if any of the

defendants are citizens of the same state as Mr. Lietzke,              then no diversity

jurisdiction exists. 32     The complaint does not specify Mr. Lietzke’s state of

citizenship, nor the state citizenship of each of Greyhound Lines.             However,

addresses for plaintiff and defendant indicate Alabama as a state of residence.

Because he has not demonstrated diverse citizenship here, this Court does not

have diversity jurisdiction over his current complaint.

           This Court has neither federal question jurisdiction nor diversity jurisdiction

over this case. Therefore, this Court has no subject matter jurisdiction over this

matter.

           When a court determines “that it lacks subject matter jurisdiction, the court

must dismiss the action.” 33 In light of the foregoing, Mr. Lietzke’s complaint must

be dismissed for lack of subject matter jurisdiction.




“complete diversity of citizenship”)).
31   Id. (quoting Kokkonen, 511 U.S. at 377).
32   Id.
33   Fed. R. Civ. P. (12)(h)(3).


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                                    Personal Jurisdiction

          The Court must have personal jurisdiction over the parties.              Personal

jurisdiction is “[a] court’s power to bring a person into its adjudicative process.” 34

Under the Rules of Civil Procedure, personal jurisdiction may be established over

a defendant who is “subject to the jurisdiction of a court of general jurisdiction in

the state where the district court is located.” 35 If the defendant is located out-of-

state, the United States Constitution requires that a defendant must have a

minimum level of contacts with the state in which the federal court is located in

order for that court to be authorized to hear the case. 36 A plaintiff must show that

an out-of-state defendant had sufficient minimum contacts with and in Alaska

necessary as not to offend the “traditional notices of fair play and substantial

justice.” 37

         The complaint articulates that the events at issue occurred in Birmingham,

Alabama.        Additionally, the addresses for the prospective defendants are all



34   Black’s Law Dictionary (10th ed. 2014).
35   Fed. R. Civ. P. Rule 4(k)(1)(A).
36   Int’l Shoe Co. v. State of Wash., 326 U.S. 310 (1945).
37
  Int’l Shoe, 326 U.S. at 316 (citation and internal quotation marks omitted). Alaska’s
long-arm statute, AS 09.05.015(c), “authorizes Alaska’s courts ‘to assert jurisdiction to
the maximum extent permitted by due process.’” Polar Supply Co., Inc. v. Steelmaster
Industries, Inc., 127 P.3d 54, 56 (Alaska 2005) (citations omitted). “As the United
States Supreme Court explained in International Shoe Co. v. Washington, due process
requires that a defendant have ‘minimum contacts’ with the forum state such that
maintaining a suit in the forum state ‘does not offend ‘traditional notions of fair play and

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located in Alabama. The complaint does not establish any events or contacts that

would give defendants reasonable notice of this Court’s jurisdiction. Due to this

lack of contacts, it would offend the traditional notices of fair play and justice for

this Court to assert jurisdiction. Therefore, this Court has no personal jurisdiction

over the defendants. As such, the Court has no jurisdiction and the complaint must

be dismissed.

                                          Venue

         A civil action must also be brought in the proper venue in order for a district

court to have proper jurisdiction. 38 In general, a civil lawsuit is properly filed in “(1)

a judicial district in which any defendant resides, if all the defendants are residents

of the State in which the district is located,” (2) where “a substantial part of the

events or omissions giving rise to the claim occurred,” or (3) if there is no other

district where the suit can be brought then in a judicial district where “any defendant

is subject to the court’s personal jurisdiction.” 39

         Here, none of the defendants reside in the District of Alaska, nor do the

alleged events take place in the District of Alaska. And, as discussed above, this




substantial justice.’” In re Fields, 219 P.3d 995, 1008 (Alaska 2009) (quoting
International Shoe, 326 U.S. at 316).
38 28 U.S.C. § 1391.


39   28 U.S.C. § 1391(b).

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Court does not have personal jurisdiction over any of the defendants. Accordingly,

this action is not filed in the proper venue and must be dismissed.

                                    Frivolous Lawsuits

         In accordance with federal law, a court must dismiss a case “at any time if

the court determines that the action or appeal is frivolous or malicious.” 40 The term

frivolous, or frivolous as a matter of law, is a legal term. It means that a case or

complaint “lacks an arguable basis in either in law or in fact.” 41 When a court

evaluates for whether a complaint is frivolous, it must “pierce the veil of the

complaint’s factual allegations to determine whether they are fanciful, fantastic, or

delusional.” 42    Additionally, a complaint may be frivolous if it merely repeats

pending or previously litigated claims.” 43

         Mr. Lietzke has frequently attempted to litigate his allegations against

Greyhound Lines.         A search of federal dockets reveals Mr. Lietzke has filed

numerous complaints in numerous districts including in Alabama, California,

Montana, Nevada, and Oregon. 44            As such, Mr. Leitzke’s action is frivolous


40   28 U.S.C. § 1915(e)(2)(B); see also 28 U.S.C. § 1915A(b)(1); 42 U.S.C. § 1997e(c)(1).
41   Neitzke v. Williams, 490 U.S. 319, 325 (1989).
42   Neitzke, 490 U.S. at 327-28; see also Denton v. Hernandez, 504 U.S. 25, 33 (1992).
43   Cato v. United States, 70 F.3d 1103, 1105 n.2 (9th Cir. 1995).
44See Lietzke v. Greyhound Lines, Inc., 2:18-cv-00488 (M.D. Ala. 2018); Lietzke v.
Greyhound Lines, Inc., 2:18-cv-01853, 2:18-cv-01650 (N.D. Ala. 2018); Lietzke v.
Greyhound Lines, Inc., 2:18-cv-02734, 2:18-cv-02392 (E.D. Cal. 2018); Lietzke v.
Greyhound Lines, Inc., 4:18-cv-06197 (N.D. Cal. 2018); Lietzke v. Greyhound Lines,

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because it merely repeats previously litigated claims. Therefore, the complaint

must be dismissed with prejudice for frivolousness.

                                 Futility of Amendment

       Mr. Lietzke’s complaint lacks an plausible claim or jurisdiction. Under the

facts alleged, Mr. Lietzke is unable to establish personal jurisdiction over the

defendants.    Additionally, Mr. Lietzke has previously litigated these claims in

several jurisdictions making them frivolous. Therefore, amendment is futile.

IT IS THEREFORE ORDERED:

1. The Complaint is DISMISSED WITH PREJUDICE for failure to state a claim,

   lack of jurisdiction, frivolousness, and the futility of amendment.

2. The Application to Proceed in District Court without Prepaying Fees of Costs at

   Docket 3 is DENIED AS MOOT.

3. The Clerk of Court is directed to enter a Final Judgment in this case.

DATED at Anchorage, Alaska this 11th day of June, 2019.

                                                      /s/ Timothy M. Burgess
                                                      TIMOTHY M. BURGESS
                                                      United States District Judge




Inc., 9:19-cv-00062 (D. Mont. 2018), Lietzke v. Greyhound Lines, Inc., 3:19-cv-00560
(D. Or. 2019).

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